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                                                   EXHIBIT H
                      Amendment No 1 to Convertible Note and Loan Security Agreement
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                                                              Complaint for Declaratory Relief
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                      AMENDMENT NO. 1 TO CONVERTIBLE NOTE

                         AND LOAN AND SECURITY AGREEMENT

       This AMENDMENT NO. 1 TO CONVERTIBLE NOTE AND LOAN AND
SECURITY AGREEMENT (this “Amendment”) is made and entered into as of March 29, 2011,
by and among JL Powell LLC, a Delaware limited liability company (the “Company”), and Blue
Highways Holdings III LLC, a Delaware limited liability company (the “Lender”).

                                            RECITALS

        A.      The Company and the Lender are parties to a Loan and Security Agreement, dated as
of October 20, 2010 (the “Security Agreement”), pursuant to which the Lender agreed to extend to
the Company a non-revolving line of credit of $500,000, and in connection therewith the Company
executed and delivered to the Lender a Convertible Note dated as of October 20, 2010 (the “Note”).
Capitalized terms used and not defined in this Amendment shall have the respective meanings set
forth in the Security Agreement or the Note, as the case may be.

       B.      The Company and the Lender now wish to further modify certain terms of the Note
and the Security Agreement.

        NOW, THEREFORE, in consideration of the foregoing Recitals and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Company
and the Lender agree as follows:

       1.      Amendments.

               1.1.   The Company and the Lender agree that Section 2.4(i) of the Note shall be
       deleted and replaced in its entirety as follows:

               “(i)    No amount withdrawn under this Note shall be payable to Lender prior to
               September 30, 2011 (the “Draw Term End Date”), without the Lender’s prior
               written consent.”

             1.2.    The Company and the Lender agree that Section 6(a) of the Security
       Agreement shall be deleted and replaced in its entirety as follows:

               “(a)    This loan facility is a non-revolving line of credit. Prior to September 30,
               2011 (the “Draw Term End Date”), Borrower may not repay in cash any principal
               amount due under the Note without Lender’s prior written consent. Thereafter, all
               principal and accrued but unpaid interest shall be paid on a quarterly basis pursuant
               to and in accordance with the terms of the Note.”

        2.      Continued Validity of Note and Security Agreement. The parties hereto agree that
the Note and the Security Agreement (as amended by this Amendment), remain in full force and
effect, modified to the extent and only to the extent necessary to give effect to this Amendment.

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       3.      Representations and Warranties. The Company hereby represents and warrants to
the Lender that each of the representations and warrants set forth in Section 4 of the Security
Agreement are true and correct as of the date hereof.

       4.      Miscellaneous.

               4.1.    Entire Agreement. This Amendment contains the entire understanding of the
       parties with respect to the subject matter hereof and supersedes all prior agreements and
       understandings, oral or written, with respect to such matters.

               4.2.    Notices. Any and all notices or other communications or deliveries required
       or permitted to be provided hereunder shall be in writing and shall be deemed given and
       effective as specified in the Security Agreement. The address for such notices and
       communications shall be as set forth on the signature pages attached to the Security
       Agreement.

               4.3.    Amendments; Waivers. No provision of this Amendment may be waived or
       amended except in a written instrument signed, in the case of an amendment, by the
       Company and the Lender or, in the case of a waiver, by the party against whom enforcement
       of any such waiver is sought. No waiver of any default with respect to any provision,
       condition or requirement of this Amendment shall be deemed to be a continuing waiver in
       the future or a waiver of any subsequent default or a waiver of any other provision,
       condition or requirement hereof, nor shall any delay or omission of either party to exercise
       any right hereunder in any manner impair the exercise of any such right.

               4.4.  Amendment Controls. If any topic is addressed in the Note and/or the Security
       Agreement (or any document related thereto) and in this Amendment, this Amendment shall
       control.

            4.5.  Governing Law. THIS AMENDMENT SHALL BE GOVERNED BY AND
       CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
       DELAWARE IN ALL RESPECTS, INCLUDING MATTERS OF CONSTRUCTION,
       VALIDITY AND PERFORMANCE, EXCEPT TO THE EXTENT THE LAWS OF
       ANOTHER JURISDICTION ARE MANDATORILY APPLICABLE.

               4.6.     Execution. This Amendment may be executed in two or more counterparts,
       all of which when taken together shall be considered one and the same document and shall
       become effective when counterparts have been signed by each party and delivered to the
       other party, it being understood that both parties need not sign the same counterpart. The
       signature of a party on any counterpart that is transmitted by facsimile or via .pdf to another
       party or legal counsel for another party shall be deemed an original signature binding upon
       the executing party and acceptable to all other parties.




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